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                                                                             Marilyn Burgess - District Clerk Harris County
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                                     CAUSE NO. 2024-33882

 ALEXANDRA LOZANO IMMIGRATION LAW,              §                IN THE DISTRICT COURT OF
 PLLC,                                          §
                                                §
                  Plaintiff,                    §
                                                §
 v.                                             §
                                                §                   HARRIS COUNTY, TEXAS
 JUAN PABLO DIAZ CUENCA                         §
                                                §
      and                                       §
                                                §
 MENESES LAW, PLLC                              §
                                                §
            Defendants.                         §                   269TH JUDICIAL DISTRICT


                   PLAINTIFF’S MOTION FOR EXPEDITED DISCOVERY
                          AND PRESERVATION OF EVIDENCE

        Plaintiff Alexandra Lozano Immigration Law, PLLC (the “Firm” or “ALIL”) files this

Motion for Expedited Discovery for Temporary Injunction Hearing, and Preservation of Evidence,

and in support thereof respectfully states the following:

        1.       On May 29, 2024, Plaintiff ALIL filed its Original Verified Petition for Temporary

Restraining Order, Preliminary Injunction, Permanent Injunction and Expedited Discovery

(“Verified Petition”) against Defendants Juan Pablo Diaz Cuenca (“Diaz”) and Meneses Law,

PLLC (“Meneses Law”) (collectively, “Defendants”).

        2.       Following a hearing on May 31, 2024, the Court granted ALIL’s request and issued

a Temporary Restraining Order on behalf of Plaintiff ALIL. The Court also set a Temporary

Injunction Hearing for June 14, 2024. See Exhibit A.

        3.       As stated in ALIL’s Verified Petition TRO, this action arises out of misconduct by

Defendants, Meneses Law and Diaz. Specifically, ALIL brings claims for breach of contract,

federal misappropriation of trade secrets (18 U.S.C. §1836), state misappropriation of trade secrets

                                                                                                     Exhibit
                                                                                                                        exhibitsticker.com




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(Tex. Civ. Prac. R. Code §134A, et. seq.), tortious interference with contract, unfair competition,

misappropriation/conversion of Confidential Information, and false designation of origin (15

U.S.C. §1125(a)(1)(A)).

       4.      Within its Verified Petition, ALIL requested leave of Court to obtain necessary

discovery from Defendants on an expedited schedule and submitted a proposed order providing

the expedited discovery schedule proposed herein on May 31, 2024. See Exhibit B. As the

auxiliary Court did not issue a ruling on the expedited discovery request, Plaintiff files this

independent Motion requesting the same expedited discovery schedule.

       5.      Discovery is needed before the temporary injunction hearing to enable the presiding

Court to tailor an appropriate temporary injunction order that will reasonably maintain the status

quo pending a full trial in this case. Accordingly, ALIL requests the Court order the automatic

stay provisions under Texas Rule of Civil Procedure 199.4 inapplicable and issue the following

expedited discovery schedule:

       a. The Plaintiff may depose Defendant Diaz for no longer than three (3) hours;

       b. The Plaintiff may depose a corporate representative of Defendant Meneses
          Law, PLLC for no longer than three (3) hours;

       c. Notice for such depositions will be provided by Defendant in writing with two
          (2) days’ advance notice;

       d. The Plaintiff may serve on Defendant Diaz requests for documents (5 requests
          or fewer) with responses (and any objections) due within seven (7) days of
          service;

       e. The Plaintiff may serve on Defendant Meneses Law, PLLC requests for
          documents (5 requests or fewer) with responses (and any objections) due within
          seven (7) days of service; and,

       f. Discovery conducted hereunder will not waive rights to future additional
          discovery in this matter.

       6.      ALIL anticipates that conducting this expedited discovery will consume less of the


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Court’s time at the temporary injunction hearing and lessen the burden on the witnesses.

        7.      ALIL further requests that this Court order Defendants to preserve for future

examination and production in this lawsuit (a) the hard drives of any computer, computer diskettes,

thumb drives, USB drives, and electronic storage devices (and all usernames and passwords

asserted therewith), as well as personal and company email accounts, emails, voicemails, text

messages, instant messaging conversations, personal messages or electronic media or devices,

within their possession, custody, or control, and (b) any documents, information and data

(including email, text messages and instant messaging conversations whether personal or

company) within their possession, custody, or control, relating to any of the factual allegations or

subject matter of Plaintiff ALIL’s Verified Petition. The preservation of such evidence is essential

to this case and necessary to ensure the integrity of evidence relating to the transactions at issue in

this case.

        THEREFORE, ALIL respectfully requests that the Court grant this Motion for Expedited

Discovery and Preservation of Documents, ordering Defendants to respond in an expedited matter

to written discovery requests, to appear for depositions, and to preserve responsive documents as

stated herein. Plaintiff requests any other relief it has shown itself entitled.

 Date: June 6, 2024




                                                   3
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                                      Respectfully submitted,

                                       /s/ Lauren Hope Whiting
                                      Lauren Hope Whiting
                                      Texas Bar No. 24084091
                                      JACKSON LEWIS P.C.
                                      93 Red River St., Ste. 1150
                                      Austin, Texas 78701
                                      512.362.7408 [Telephone]
                                      512.362.5574 [Facsimile]
                                      Lauren.Whiting@jacksonlewis.com

                                      Charles T. Jeremiah
                                      Texas Bar No. 00784338
                                      Jackson Lewis P.C.
                                      717 Texas Avenue, Suite 1700
                                      Houston, TX 77002
                                      713.650.0404 [Telephone]
                                      713.650.0405 [Facsimile]
                                      Charles.Jeremiah@jacksonlewis.com

                                      Kirsten R. Fraser
                                      (Pro Hac Vice Application Forthcoming)
                                      Organ Law LLP
                                      1330 Dublin Road
                                      Columbus, Ohio 43215
                                      614.481.0900 [Telephone]
                                      614.481.0904 [Facsimile]
                                      kfraser@organlegal.com

                                      Attorneys for Plaintiff Alexandra Lozano
                                      Immigration Law, PLLC




                                  4
      Case 4:24-cv-02190 Document 1-7 Filed on 06/07/24 in TXSD Page 5 of 16




                            CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of Plaintiff’s Motion for Expedited Discovery was
served on June 6, 2024 to the following entities:

Via e-file and e-mail:
Michael Killingsworth, MKillingsworth@azalaw.com
Jason S. McManis, JMcManis@azalaw.com
Joseph Y. Ahmad, JoeAhmad@azalaw.com
AHMAD, ZAVITSANOS, & MENSING, PLLC
1221 McKinney, Ste. 2500
Houston, Texas 77010

Via US Mail and e-email:
Juan Pablo Diaz Cuenca
8311 Brecha Lane
Houston, Texas 77055
juanpablo.diazcuenca@gmail.com
nbolanos@fishlawfirm.com



                                                   /s/ Lauren Hope Whiting
                                                  Lauren Hope Whiting
4895-9546-9509, v. 1




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              EXHIBIT A
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                                                                  Page Burgess
                                                                        7 of 16 - District Clerk
                                                                                     Harris County
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                                 2024-33882 / Court: 269                         _ By:  JACKSON, MONICAJ
                                                                                   Filed: 5/29/2024 3:58:55 PM
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                                       CAUSE NO.
                                                                                                             TRORX
 ALEXANDRA LOZANO IMMIGRATION LAW,                 = §                 IN THE DISTRICT COURT OF
                                                                                                             STBNX
 PLLC,                                               §                                                        CASO
                                                     §
                    Plaintiff,                       §
                                                     §
 v.                                                  §
                                                     §                    HARRIS COUNTY, TEXAS
 JUAN PABLO DIAZ CUENCA                              §
                                                     §
      and                                            §
                                                     §
 MENESES LAW, PLLC                                   §
                                                     §
             Defendants.                             §                           JUDICIAL DISTRICT

        ORDER GRANTING              PLAINTIFF’S TEMPORARY              RESTRAINING ORDER

            The Court has considered the Verified Original Petition, Application of Temporary

Restraining Order, Temporary Injunction, and Permanent Injunction filed by Plaintiff Alexandra

Lozano Immigration Law, PLLC (“ALIL”) against Defendants Juan Pablo Diaz Cuenca (“Diaz”)

and Meneses Law, PLLC (“Meneses Law’) (collectively “Defendants”). After hearing arguments

of counsel and reviewing the pleadings and admitting the evidence attached to the application, the

Court finds if it does not issue the temporary restraining order, Plaintiff will be irreparably injured

due to Defendants’ alleged actions, including the misappropriation of Plaintiff's trade secrets and

Confidential Information.

            This Court finds that a Temporary Restraining Order against Defendants            is necessary

because it clearly appears from Plaintiff's Verified Petition and supporting evidence, including

declaration testimony that immediate and irreparable harm, injury, loss, or damage will result to

Plaintiff.

            The Court finds that Plaintiff attempted to notify Defendants of its intent to seek injunctive

relief and to resolve the dispute prior to seeking court intervention, but has not received a sufficient

response. As a result, it is clear that Plaintiff has Confidential Information (including, inter alia,




                                                                    EXHIBIT A
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information regarding ALIL’s business plans, trade secrets, finances, records, personnel, designs,

marketing,        customers     and    customer     lists,     customer   requirements,      sales,   products,    systems,

processes, trade secrets, methods, know-how, sales methodologies, training methodologies, sales

channels, product development plans, and/or pricing) and that such Confidential Information and

trade secrets give Plaintiff a competitive advantage in the marketplace.

       Defendants are in positions to misappropriate or may have already misappropriated the

Confidential       Information        and/or trade secrets by virtue of defendant               Diaz's    employment      at

competitor Meneses            and given his current role and responsibilities,                and therefore Plaintiff's

Confidential Information and trade secrets are imminently threatened.

       The Court finds that without this Temporary                         Restraining Order Plaintiff will suffer

irreparable harm        to its protected      business         interests and property       rights in its trade secrets,

trademark, goodwill, and Confidential Information, for which there is no adequate remedy at law.

To preserve the status quo, this Temporary Restraining Order is appropriate.

       It    is     therefore     ORDERED           that       Defendants,    their   partners,       agents,     servants,

employees, employers, and attorneys (“Enjoined Parties”) who receive actual notice of this

Temporary Restraining Order shall be enjoined as follows:

                        a)    Enjoined Parties are prohibited from directly or indirectly, using, reviewing,

                              disclosing, publishing, sharing, disseminating, and/or allowing access to,

                              destroying, concealing, deleting, or removing any of ALIL’s Confidential

                              Information     and/or trade secrets including,           but not limited to, data and

                              information with regard to business plans, trade secrets, finances, records,

                              personnel,    designs,         marketing,   customers   and     customer    lists, customer

                              requirements,       sales, products, systems, processes, trade secrets, methods,




                                                                                      EXHIBIT A
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                know-how,       sales methodologies, training methodologies,                          sales channels,

                product development plans, and/or pricing;

           b)   Enjoined Parties are prohibited from                    destroying any record, document,

                report,    spreadsheet,         communication,        or other     information,          whether         in

                written    or electronic        format,   in their respective          possession,           control,    or

                otherwise     accessible        to him,   that is contains       information           that could       be

                relevant or discoverable in this lawsuit, including but not limited to any

                ALIL’s       Confidential        Information,     trade     secrets,     or     any     other      ALIL

                proprietary or protected information;

                Enjoined      Parties are prohibited           from     engaging    in any acts that would

                constitute     a breach         of the    Restrictive     Covenant        Agreement             and     are

                prohibited from engaging in any act, omission, communication, or other

                effort to assist Diaz in any additional or further breach of his Restrictive

                Covenant Agreement;

           d)   Enjoined      Parties     are     prohibited     from     interfering         with     any     business

                opportunities or relationships of ALIL, including bidding on any current or

                pending agreements, sales, or transactions between ALIL and its customers,

                vendors, partners, or clients;

                Enjoined Parties are prohibited from directly or indirectly hiring, solicits

                recruiting, or otherwise attempting to induce any                                    ho is, or within

                the preceding twelve (12) monthsprfOr to November                               17, 2023 was, (1)

                employed or otheswrSe engaged by ALIL and (11) with whom Diaz had

                      tial Contact during such period, meaning Diaz (a) supervised such




                                                                            EXHIBIT A
                                                   Le)
    Case 4:24-cv-02190 Document 1-7 Filed on 06/07/24 in TXSD Page 10 of 16




                           person or was otherwise in such person’s chain of command; (b) re

                           worked with the person on behalf of the AL                     whom Diaz received

                           Confidential     Informaty            e ordinary    course   of business   about the




                    f)     Enjoined     Parties   are   prohibited   from   otherwise   disrupting,   damaging,

                           impairing, or interfering with the business of ALIL             or from directly or

                           indirectly deriving any economic           benefit from the goodwill,       business

                           relationships, or reputation of ALIL.

                    g) Enjoined Parties must immediately cease and desist use of the

                           “Arreglar Sin Salir!” in any c                     are prohibited from using such

                                      Tk or any variation thereof in commerce.

IT IS ORDERED       that this Order shall expire at midnight on the fourteenth (14th) day after the

Court enters this Order.

IT IS FURTHER       ORDERED            that Plaintiff and Defendants shall appear before this honorable

Court on       June 14            , 2024, at1:00 o’clock, p .m., in the courtroom of the above named

district court of Harris County, Texas, to then and there show cause, if any, why a temporary

injunction should not be issued enjoining Defendants from engaging in the activities described

above.

The clerk of this court Is DIRECTED to issue a show cause notice to Defendants to appear at this

temporary injunction hearing.

The clerk of the court shall forthwith issue a Temporary Restraining Order in conformity with the

law and the terms of this Order.

The Court imposes a bond of $1000                 pending




                                                                                    EXHIBIT A
Case 4:24-cv-02190 Document 1-7 Filed on 06/07/24 in TXSD Page 11 of 16




  SIGNED on this _   day of             , 2024.Signed:
                                           5/31/2024 (dunk Lda    hor
                                             1:45 PM
                                      PRESIDING JUDGE




                                                          EXHIBIT A
Case 4:24-cv-02190 Document 1-7 Filed on 06/07/24 in TXSD Page 12 of 16




              EXHIBIT B
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                                                                           Marilyn Burgess - District Clerk Harris County
                                                                                                Envelope No. 88305464
                                                                                                      By: Tammie Young
                                                                                             Filed: 5/31/2024 11:07 AM

                                   CAUSE NO. 2024-33882

 ALEXANDRA LOZANO IMMIGRATION LAW,            §               IN THE DISTRICT COURT OF
 PLLC,                                        §
                                              §
                  Plaintiff,                  §
                                              §
 v.                                           §
                                              §                   HARRIS COUNTY, TEXAS
 JUAN PABLO DIAZ CUENCA                       §
                                              §
      and                                     §
                                              §
 MENESES LAW, PLLC                            §
                                              §
            Defendants.                       §                   269TH JUDICIAL DISTRICT

                          ORDER GRANTING EXPEDITED DISCOVERY

        The Court has today considered Plaintiff’s Motion to Conduct (Limited) Expedited

Discovery.

        The Court finds good cause under Texas Rules of Civil Procedure 191.1 to modify the

normal discovery procedures and limitations, to permit limited discovery on an expedited basis in

conjunction with the Temporary Injunction.

        IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the normal

discovery procedures are hereby modified and parties may conduct discovery on an expedited

basis in accordance with the following parameters.


        1. The Plaintiff may depose Defendant Diaz for no longer than three (3) hours;

        2. The Plaintiff may depose a corporate representative of Defendant Meneses
           Law, PLLC for no longer than three (3) hours;

        3. Notice for such depositions will be provided by Defendant in writing with two
           (2) days’ advance notice;

        4. The Plaintiff may serve on Defendant Diaz requests for documents (5 requests
           or fewer) with responses (and any objections) due within seven (7) days of
           service;




                                                                 EXHIBIT B
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         5. The Plaintiff may serve on Defendant Meneses Law, PLLC requests for
            documents (5 requests or fewer) with responses (and any objections) due within
            seven (7) days of service; and,

         6. Discovery conducted hereunder will not waive rights to future additional
            discovery in this matter.


         SIGNED this __________ day of ________, 2024 at ________a.m./p.m.



                                             __________________________________
                                             HONORABLE JUDGE
4879-9391-2772, v. 1




                                                                         EXHIBIT B
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certificate of service that complies with all applicable rules.

Frankie Larsen on behalf of Charles Jeremiah
Bar No. 784338
Frankie.Larsen@jacksonlewis.com
Envelope ID: 88305464
Filing Code Description: Proposed Order
Filing Description: Proposed Order Granting Expedited Discovery
Status as of 5/31/2024 11:52 AM CST

Case Contacts

Name                      BarNumber   Email                                   TimestampSubmitted       Status

Lauren HopeWhiting                    Lauren.Whiting@Jacksonlewis.com         5/31/2024 11:07:19 AM    SENT

Houston Docketing                     houstondocketing@jacksonlewis.com       5/31/2024 11:07:19 AM    SENT

Charles T.Jeremiah                    Charles.Jeremiah@jacksonlewis.com       5/31/2024 11:07:19 AM    SENT

JoAnn ETucker                         JoAnn.Tucker@jacksonlewis.com           5/31/2024 11:07:19 AM    SENT

Austin Docketing                      austindocket@jacksonlewis.com           5/31/2024 11:07:19 AM    SENT

Crystal Aranda-Alvidrez               crystal.aranda-alvidrez@jacksonlewis.com 5/31/2024 11:07:19 AM   SENT

Kirsten RFraser                       kfraser@organlegal.com                  5/31/2024 11:07:19 AM    SENT




                                                                              EXHIBIT B
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Felicia Sargent on behalf of Lauren Whiting
Bar No. 24084091
felicia.sargent@jacksonlewis.com
Envelope ID: 88534857
Filing Code Description: Motion (No Fee)
Filing Description: Plaintiff's Motion for Expedited Discovery and
Preservation of Evidence
Status as of 6/7/2024 8:35 AM CST

Case Contacts

Name                      BarNumber Email                                   TimestampSubmitted Status

Lauren HopeWhiting                  Lauren.Whiting@Jacksonlewis.com         6/6/2024 5:18:21 PM    SENT

Charles T.Jeremiah                  Charles.Jeremiah@jacksonlewis.com       6/6/2024 5:18:21 PM    SENT

Kirsten RFraser                     kfraser@organlegal.com                  6/6/2024 5:18:21 PM    SENT

Joseph Y.Ahmad                      joeahmad@azalaw.com                     6/6/2024 5:18:21 PM    SENT

Tracy Zamora                        tzamora@azalaw.com                      6/6/2024 5:18:21 PM    SENT

Jason S.McManis                     jmcmanis@azalaw.com                     6/6/2024 5:18:21 PM    SENT

Michael Killingsworth               mkillingsworth@azalaw.com               6/6/2024 5:18:21 PM    SENT

Emma KPennington                    epennington@azalaw.com                  6/6/2024 5:18:21 PM    SENT

Houston Docketing                   houstondocketing@jacksonlewis.com       6/6/2024 5:18:21 PM    SENT

Frankie Larsen                      Frankie.Larsen@jacksonlewis.com         6/6/2024 5:18:21 PM    SENT

Austin Docketing                    austindocket@jacksonlewis.com           6/6/2024 5:18:21 PM    SENT

Crystal Aranda-Alvidrez             crystal.aranda-alvidrez@jacksonlewis.com 6/6/2024 5:18:21 PM   SENT

JoAnn ETucker                       JoAnn.Tucker@jacksonlewis.com           6/6/2024 5:18:21 PM    SENT

Felicia Sargent                     Felicia.Sargent@jacksonlewis.com        6/6/2024 5:18:21 PM    SENT
